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                                                18 July 2025

  Via E-mail CM/ECF (Filed Electronically)

  The Honorable Christopher J. Burke, U.S.M.J.
  United States District Court for the District of Delaware
  J. Caleb Boggs Federal Building
  844 North King Street
  Unit 28, Room 2325
  Wilmington, DE 19801-3555

         Re:     Amicus Therapeutics US, LLC v. Teva Pharmaceuticals USA, Inc., et al.
                 U.S.D.C.(D.Del.)
                 C.A. No. 1:22-cv-01461-CJB

  Dear Judge Burke:
         This firm represents the Aurobindo defendants in the referenced matter. As Your Honor
  may be aware, in accordance with the Court’s Order dated February 4, 2025 (D.I. 202), Aurobindo
  timely filed its motion for summary judgment of invalidity as to all asserted patents under 35
  U.S.C. § 101, and the motion is now fully briefed. Aurobindo’s reply brief was timely filed July
  10, 2025. In accordance with Local Rule 7.1.4, July 17, 2025, was the deadline for the parties to
  request oral argument on any motion. As of the filing of this letter, no party has requested oral
  argument.
          Aurobindo respectfully submits that its summary judgment motion is straightforward,
  premised on the plain language of the asserted patent claims and does not require expert opinions
  to resolve. Aurobindo, thus, does not believe oral argument would be necessary or
  helpful. Plaintiffs’ choice to not request oral argument suggests they are in agreement. In any
  case, Aurobindo believes its motion is ripe for resolution on the papers, subject, of course, to any
  questions the Court may have.
         We thank the Court for its consideration of these matters and would be happy to answer
  any questions the Court may have.
                                                Respectfully submitted,



                                                R TOUHEY MYER (#5939)

  RTM/rec

  cc:    All Counsel of Record (via E-mail and CM/ECF)
